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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                               CIVIL RIGHTS COMPLAINT




                    Plaintiff(s),
(Full name(s); Do not use et al.)

V.                                                           Case No. ------
                                                                      (To be supplied
                                                                       by the court)

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                                               DD n 0--ld j'Y U,M,? ~
      \llirD QJ,Q \-tCll/Y\         s          Dof\o.tc\ \ Y\.tM? J Q.
     Ned l llM{)/\X

                       Defendant(s).
(Full name(s) and capacity,~. official capacity, individual capacity,
or official and individual capacitites) (Do not use et al.)


                                         A. PARTIES

1.        .Mill D\l\ \\"{00 is a citizen of CDrW\Qt"DLLd who
                                              _}. r t-ttla~ Id    - ~- ,.__.-
                                  ~\ (axe. J '\/,~
              (Plaintiff) /\   \ ~          \
presently resides at      , ~'                                 \ C\                  lX.) \ ~.
                             (mailin address)


2. Defendant--~
              --'-
                 ✓      \~D~YJ~---,N
                                   ~U~~~:\__l __ is a citizen of C~tate)
              (name of first defendant)
                                                                  CL\jfox(\lC\ o{
whose address is ---------------------
                                                                         \-ej_t\S

and who is employed as                                                           _
                           (title and place of employment)
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  At the time the claim(s) alleged)n this complaint arose, was this defendant acting under
color of state law? __ Yes _    ✓_ I\No. If your answer is "Yes," briefly explain:




3. Defendant     T-e:H: \cv£],,QS ·                     is a citizen of ---------
               (name of second defendant)                                    (State)

whose address is --~~-----------------------

and who is employed as                                                            _
                           (title and place of employment)

  At the time the claim(s) alleg:z this complaint aro~e, was thi~ defenda~t acting under
color of state law? __Yes         No. If your answer Is "Yes," briefly explain:




(If more space is needed to furnish the above information for additional defendants, continue
on a blank sheet which you should label "A. PARTIES." Be sure to include each defendant's
complete address and title.)


                                      B. JURISDICTION

1. Jurisdictyfn is asserted pursuant to (CHECK ONE)

       /       42 U.S.C. § 1983 (applies to state defendants)

             Bivens v. Six Unknown Named Agents of Fed. Bureau of
             Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies to
             federal defendants)

2. Jurisdiction also is invoked pursuant to 28 U.S.C. § 1343(a)(3). (If you wish to assert
jurisdiction under different o'r additional statutes, you may list them below.)




                                               2
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                                           C. NATURE OF THE CASE

         BRIEFLY state the background of your case.

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                                                                                             ~       my
         I allege J?t1-J/ollow1ngmy constitutional rights, privileges, or~munities have been                 .
         violated and that the following facts form the basis of my allegations: (If more space is needed
         to explain any allegation or to list additional supporting facts, continue on a blank sheet which
         you should label "D. CAUSE OF ACTION.")                        ·

       ·. Claimllliy V\C\O:kcl 0½ \th:arclkt.lqW::TIJ
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          Support1ng~~s: (Include all facts you consider important, including names of persons
        . involved, places, and dates. Describe exactly how each defendant is involved. State the facts
          clearly in your own words without citing legal authority or argument.)

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Do you wish to have a jury trial? Yes




Original signature of attorney (if any)            p1aintiffs0rigina


PrintedName_________ Printed Name                      Aaro ~(illiVCLn            •



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( )                                                &I» bql• U\\JJ                             Db\ D\
Attorney's full address and telephone              Plaintiff's full address and telephone


Email address if available                         Email address if available


                 DECLARATION UNDER PENAL TY OF PERJURY

      The undersigned declares under pe It f          .                 .
above action, that he/she has read the b na y o perjury that he/she_ is the plaintiff in the



                                                           l~ lliL
                                               0          nd th
the complaint is true and correct. 28 U.~-~~e§~ 7~~~a~~t ~     at the information contained in


Executed at      f-}QA-fl)yq
                   (location)
                                              on       (da,
                                                           ~~

                                                   Plaintiff's Original Signature
(Rev. 3/21/16)


                                                   5   .
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